EDTN     Amended Judgment in a Criminal Case (Rev. 3/08)                                                       (NOTE: Identify Changes with Asterisks (*))
         Sheet 1



                                      United States District Court
                                               Eastern District of Tennessee
           UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                      v.                                                    (For Offenses Committed On or After November 1, 1987)
              ROGER PHILLIPS, SR.                                           Case Number:           2:08-CR-38-012
Date of Original Judgment: January 22, 2010
(or Date of Last Amended Judgment)
                                                                            Jonathan M. Holcomb
                                                                            Defendant’s Attorney

Reason for Amendment:
Direct Motion to District Court Pursuant to [] 28 U.S.C. § 2255, [] 18 U.S.C. § 3559(c)(7), or [T] Modification of Forfeiture


THE DEFENDANT:
[T]      pleaded guilty to Counts 1 and 8 of the Fourth Superseding Indictment.
[]       pleaded nolo contendere to count(s)      which was accepted by the court.
[]       was found guilty on count(s)     after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                                               Date Offense         Count
Title & Section                        Nature of Offense                                                       Concluded            Number
21 U.S.C. §§ 846 and 841(a)(1)         Conspiracy to Distribute and Possess with the Intent to                 May 15, 2008         1
                                       Distribute 50 Grams or More of Methamphetamine

18 U.S.C. § 1956(a)(1)(B)(ii)          Knowingly Conducting a Financial Transaction Affecting                  May 26, 2005         8
                                       Interstate Commerce which Involved the Proceeds of a
                                       Specified Unlawful Activity with the Intent to Conceal the
                                       Nature, Source, Location, Ownership, or Control of the
                                       Proceeds (Money Laundering)

        The defendant is sentenced as provided in pages 2 through 6 of this judgment and the Statement of Reasons. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and 18 U.S.C. §3553.

[]       The defendant has been found not guilty on count(s)         .

[T]      Count 2 of the Fourth Superseding Indictment        [T] is [ ] are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                           January 15, 2010
                                                                          Date of Imposition of Judgment


                                                                                                 s/ Leon Jordan
                                                                                          United States District Judge
                                                                          Signature of Judicial Officer

                                                                                        LEON JORDAN, United States District Judge
                                                                          Name & Title of Judicial Officer

                                                                                                           February 3, 2010
                                                                          Date


         Case 2:08-cr-00038-RLJ                    Document 444 Filed 02/04/10                            Page 1 of 6          PageID #:
                                                              3132
EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 2 — Imprisonment
                                                                                                                   Judgment - Page 2 of 6
DEFENDANT:               ROGER PHILLIPS, SR.
CASE NUMBER:             2:08-CR-38-012


                                                             IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
120 months .

       This sentence consists of terms of 120 months as to each of Counts 1 and 8, to be served concurrently.


[T]    The court makes the following recommendations to the Bureau of Prisons:

       The Court recommends that the defendant receive 500 hours of substance abuse treatment from the BOP Institution Residential
       Drug Abuse Treatment Program. Furthermore, the Court recommends the defendant be designated to FCI Butner, NC.


[T]    The defendant is remanded to the custody of the United States Marshal.


[]     The defendant shall surrender to the United States Marshal for this district:
       [ ] at      [] a.m. [] p.m. on       .
       [ ] as notified by the United States Marshal.


[]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ ] before 2 p.m. on     .
       [ ] as notified by the United States Marshal.
       [ ] as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




       Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL



                                                                                              By
                                                                                                   DEPUTY UNITED STATES MARSHAL




          Case 2:08-cr-00038-RLJ                     Document 444 Filed 02/04/10              Page 2 of 6         PageID #:
                                                                3133
EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 3 — Supervised Release
                                                                                                                                   Judgment - Page 3 of 6
DEFENDANT:               ROGER PHILLIPS, SR.
CASE NUMBER:             2:08-CR-38-012

                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years .

       This term consists of 5 years as to Count 1 and 3 years as to Count 8, to run concurrently.


The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by
the court.

[]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
       abuse. (Check, if applicable.)

[T]    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[T]    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable.)

[]     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such fine or
restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply
with the additional conditions on the attached page.


                                      STANDARD CONDITIONS OF SUPERVISION

 1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
       month;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependants and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
       substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
       or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
       compliance with such notification requirement.


          Case 2:08-cr-00038-RLJ                    Document 444 Filed 02/04/10                          Page 3 of 6           PageID #:
                                                               3134
EDTN Judgment in a Criminal Case (Rev.3/04)
    Sheet 3A - Supervised Release
                                                                                                                Judgment - Page 4 of 6
DEFENDANT:               ROGER PHILLIPS, SR.
CASE NUMBER:             2:08-CR-38-012


                                     SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program of testing and/or treatment for drug and/or alcohol abuse, as directed by the probation
   officer, until such time as he is released from the program by the probation officer. The defendant shall waive all rights to
   confidentiality regarding substance abuse treatment in order to allow release of information to the supervising United States
   Probation Officer and to authorize open communication between the probation officer and the treatment provider.




          Case 2:08-cr-00038-RLJ              Document 444 Filed 02/04/10                     Page 4 of 6        PageID #:
                                                         3135
EDTN Judgment in a Criminal Case (Rev.3/04)
     Sheet 5 — Criminal Monetary Penalties
                                                                                                                                            Judgment — Page 5 of 6
DEFENDANT:                 ROGER PHILLIPS, SR.
CASE NUMBER:               2:08-CR-38-012

                                             CRIMINAL MONETARY PENALTIES
  The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
Sheet 6. The assessment is ordered in accordance with 18 U.S.C. § 3013.

                                                           Assessment                                Fine                        Restitution
      Totals:                                               $ 200.00                                  $                              $


[]    The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
      such determination.

[]    The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, if the United States is a victim, all other victims,
      if any, shall receive full restitution before the United States receives any restitution, and all restitution shall be paid to the victims
      before any restitution is paid to a provider of compensation, pursuant to 18 U.S.C. §3664.

                                                                                                                               Priority Order
                                                           *Total                             Amount of                        or Percentage
Name of Payee                                           Amount of Loss                    Restitution Ordered                   of Payment



TOTALS:                                                      $                                   $


[]      If applicable, restitution amount ordered pursuant to plea agreement $

        The defendant shall pay interest on any fine or restitution of more than $2500, unless the fine or restitution is paid in full before
        the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[]      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        [ ] The interest requirement is waived for the [ ] fine and/or                   [ ] restitution.

        [ ] The interest requirement for the           [ ] fine and/or       [ ] restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on or after
September 13, 1994 but before April 23, 1996.
           Case 2:08-cr-00038-RLJ                        Document 444 Filed 02/04/10                              Page 5 of 6             PageID #:
                                                                    3136
EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 6 — Schedule of Payments
                                                                                                                                  Judgment — Page 6 of 6
DEFENDANT:                ROGER PHILLIPS, SR.
CASE NUMBER:              2:08-CR-38-012

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [T] Lump sum payment of $ 200.00 due immediately, balance due

            [ ] not later than , or
            [ ] in accordance with [ ] C, [ ] D, or [ ] E or [ ] F below; or

B     []    Payment to begin immediately (may be combined with [ ] C, [ ] D, or [ ] F below); or

C     []    Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $    over a period of   (e.g., months or years), to commence
            (e.g., 30 or 60 days) after the date of this judgment; or

D     []    Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of      (e.g., months or years), to commence
            (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     []    Payment during the term of supervised release will commence within 0 (e.g., 30 or 60 days) after release from imprisonment. The court
            will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     []    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. Unless ot herwise directed by the court, the probation officer, or the United States attorney, all criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to U.S. District
Court, 220 W. Depot St., Suite 200, Greeneville, TN 37743. Payments shall be in the form of a check or a money order, made payable to U.S. District
Court, with a notation of the case number including defendant number.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]    Joint and Several

      Defendant Name, Case Number, and Joint and Several Amount:



[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[*T] The defendant shall forfeit the defendant’s interest in the following property to the United States:

      * All that lot or parcel of land, together with all buildings, improvements, fixtures, attachments and easements, having a mailing address of 89
        Walt Road, Burnsville, North Carolina 28714, and more particularly described in the Preliminary Order of Forfeiture [Doc. 413] entered
        January 14, 2010.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community
restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
           Case 2:08-cr-00038-RLJ                    Document 444 Filed 02/04/10                           Page 6 of 6           PageID #:
                                                                3137
